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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ARCONIC INC.,                                )       CIVIL ACTION NO. 17-1434
                                             )
               Plaintiff,                    )       JUDGE JOY FLOWERS CONTI
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                                             )
       v.                                    )
                                             )
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                                             )
NOVELIS INC. and NOVELIS CORP,               )
                                             )
               Defendants.                   )

          SPECIAL MASTER REPORT & RECOMMENDATION # 37:
NOVELIS’ CLAIM OF PRIVILEGE OVER CERTAIN CLAWED BACK DOCUMENTS

       Before the Special Master is a dispute regarding Novelis’ attempt to clawback three

emails that it produced but now claims privilege over pursuant to both the attorney-client

privilege and the patent agent privilege. On July 6, 2021, the Special Master requested that

Novelis provide the clawed back documents for in camera review, as well as contemporaneous

emails (whether privileged or not) involving the same individuals that shed light on the purpose

of the clawed back emails and assertion of privilege by Novelis. Novelis made the requested

submission on July 13, 2021.

       The clawed back emails are variations on one email, dated April 2, 2015, from Michael

Bull to Theresa MacFarlane, Todd Summe and Dewei Zhu, all technical, non-attorney,

employees (the “April 2 Email”). Mr. Bull copied Freddie Hughes, Novelis’ IP Manager, to the

email. Novelis contends that Dr. Hughes acted as Novelis’ patent agent. The April 2 Email,

subject line “A951, IP and Rinse,” discusses certain specifications for the rinse step in the A951
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process that Novelis purportedly developed through its own experimentation. Novelis claims

that Dr. Hughes, in his capacity as a patent agent, was collecting information “at the request of

and provided to the Novelis legal department for the purpose of obtaining patent related advice.”

(June 25, 2021 Joint Redfern at 10.) Novelis submitted affidavits from Mr. Bull and Dr. Hughes

to substantiate its claim of privilege over these documents. (June 25, 2021 Joint Redfern, Exs.

A, B.)

         Arconic disputes the claim of any privilege (whether attorney-client or patent agent)

because Dr. Hughes did not participate in the email discussion, which appears to be “among

technical employees,” and because “there is no indication that the email was seeking legal

advice, or even ‘reflects’ legal advice, regarding patent prosecution.” (June 25, 2021 Joint

Redfern at 12.) Arconic further argues that there is no indication that Dr. Hughes “was acting

under the authority and control of an attorney—no attorneys are copied on the email . . . .” (Id.)

         The Special Master has reviewed the submitted materials in camera. The following is a

timeline of the relevant communications surrounding the April 2 Email (stated generally so as to

not reveal the substance of any privileged communication):

               3/26/2015 and 3/30/2015: two separate emails show Dr. Hughes (Novelis patent

                agent) communicating with technical employees seeking to document certain

                Novelis IP related to A951. (In camera Exs. E, F.)

               4/1/2015: Mr. Summe emails Dr. Hughes (Novelis patent agent), Chris Courts

                (Novelis’ in-house counsel) and technical employees, Ms. MacFarlane and Mr.

                Bull, requesting a meeting to discuss potential A951 IP. The email summarizes

                IP developments Novelis purportedly made. Mr. Courts’ email response (dated




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               April 2) indicates that he and Dr. Hughes had had discussions about the issues

               described in the April 1 email. (In camera Ex. I.)

              4/1/2015: Mr. Bull emails Dan Bergdahl (technical employee), copying Dr.

               Hughes (Novelis patent agent) and Mr. Courts (Novelis in-house counsel) and

               certain technical employees, regarding documentation of A951 IP. (In camera

               Ex. G.)

              4/2/2015: Mr. Bull sends the April 2 Email to the other technical employees,

               copying Dr. Hughes. (In camera Exs. B, C, D.)

              4/2/2021: Dr. Hughes forwards the April 2 Email as an “fyi” to Mr. Courts

               (Novelis in-house counsel), copying Jennifer Maxwell and Cecelia Andrews (both

               Novelis in-house counsel). (In camera Ex. H.)

       Together these emails show that Dr. Hughes, at the direction of Mr. Courts, liaised with

technical employees to gather information and documentation related to Novelis’ purported IP

pertaining to A951 for use in possible patent applications. These emails further show that

Novelis in-house counsel, primarily Mr. Courts, interacted with Dr. Hughes, as well as directly

with the involved technical employees, to discuss and seek documentation of aspects of Novelis’

purported A951 IP that could be included in a patent application.

       Specifically as it relates to the context surrounding the April 2 Email, it is relevant that

Dr. Hughes immediately forwarded the April 2 Email to Mr. Courts. Further, on the very same

day as Mr. Bull sent the April 2 Email, Mr. Courts replied (in a separate privileged email chain)

indicating that he and Dr. Hughes had had multiple discussions regarding actions to be taken

related to purported Novelis A951 IP. Without revealing the substance of the email discussions,

the subject matter of the various email chains overlaps with the April 2 Email. Further, Dr.




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Hughes and Mr. Bull state in affidavits that Dr. Hughes was responsible for gathering

information to evaluate the patentability of Novelis’ IP pertaining to A951, and that the April 2

Email was sent for purposes of pursuing a patent application.

       This is sufficient context to indicate that the April 2 Email contained information

“gathered at the direction of [counsel], for the purpose of assisting him in providing legal advice

and formulating legal strategy,” and thus all three variations of the email are protected under the

attorney-client privilege. Cottillion v. United Ref. Co., 279 F.R.D. 290, 305 (W.D. Pa. 2011).

Technical information provided to counsel for purposes of a patent application can be privileged

“as long as [the communication] was made for the purpose of securing legal advice or legal

services, or conveying legal advice.” SmithKline Beecham Corp., 232 F.R.D. 467, 477 (E.D. Pa.

2005); see also In re Federated Mutual Funds Excessive Fee Litig., 2010 WL 11469561, at *4

(W.D. Pa. 2010) (“Thus, although the report was not legal in nature, its value to counsel in

formulating ongoing legal strategy and providing future advice regarding plaintiff's existing and

potential claims readily is apparent.”).

       Finding that the April 2 Email is privileged is consistent with the Special Master’s

findings in Report & Recommendation No. 26 regarding certain documents clawed back by

Arconic, over which Novelis’ challenged the assertion of privilege. There, an analysis

exchanged between non-attorney employees, which on its face contained no reference to counsel,

was nonetheless found to be privileged because contemporaneous communications demonstrated

that the information was compiled to facilitate legal advice provided by Arconic counsel. Dkt.

232 at 3-5. Likewise here, although the April 2 Email does not explicitly state that the

information was being sent in order to request legal advice from Mr. Courts, the




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contemporaneous emails provide the context to show that the information was being compiled

for that purpose.

       In finding that the three iterations of the April 2 Email are protected under the attorney-

client privilege, the Special Master does not reach the question of whether the emails meet the

standard for the patent agent privilege. The contemporaneous emails show that the technical

information reflected in April 2 Email was gathered to facilitate legal advice pertaining to

Novelis IP provided by Mr. Courts (among other Novelis attorneys). Whether Dr. Hughes’

involvement independently satisfies the narrower patent agent privilege is a question that need

not be reached.


/s Faith S. Hochberg                                 July 19, 2021
Faith S. Hochberg, U.S.D.J. (Ret.)                   Date:
Special Master




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